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                           EXHIBIT B

                      The Rubio Declaration
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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


In re:                                                    §
                                                          §
GARDEN OAKS MAINTENANCE                                   §       Case No. 18-60018
ORGANIZATION, INC.                                        §       Chapter 11
                                                          §
Debtor.                                                   §



               DECLARATION OF CHARLES M. RUBIO IN SUPPORT OF
             THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
         APPLICATION TO EMPLOY DIAMOND MCCARTHY LLP AS COUNSEL

          I, Charles M. Rubio, declare under penalty of perjury as follows:

          1.       I am an attorney at law duly admitted and in good standing to practice in Texas

and New York and before the United States District Courts for the Southern, Western, Northern

and Eastern Districts of Texas and the Southern and Eastern Districts of New York. I am a

partner in the Houston office of the law firm Diamond McCarthy LLP, located at 909 Fannin,

Suite 3700, Houston, Texas 77010.

          2.       I make this declaration in support of The Official Committee Of Unsecured

Creditors’ Application to Employ Diamond McCarthy LLP as Counsel Nunc Pro Tunc to June

4, 2018 (the “Application”).3

          3.       Except as otherwise noted, all facts set forth in this declaration are based upon my

personal knowledge, upon the client and matter records of Diamond McCarthy reviewed by other

lawyers and paraprofessionals at Diamond McCarthy under my supervision and direction, or

derived from information available to me that I believe to be true and correct.



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    Capitalized terms used but not defined herein have the meanings assigned to such terms in the Application.
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                        RETENTION AND SCOPE OF SERVICES

       4.     On May 31, 2018, the United States Trustee for Region 7 (the “U.S. Trustee”)

appointed the Committee pursuant to Bankruptcy Code § 1102. On June 4, 2018, the Committee

selected Diamond McCarthy to serve as counsel to the Committee, subject to the approval of the

Court. In the retention letter formalizing the retention, Diamond McCarthy agreed to serve as

Committee Counsel and charge its standard hourly rates described below, these rates are

reasonable and fall within the range of rates charged by other counsel on similar matters in the

Houston market.

       5.     Diamond McCarthy will serve as general bankruptcy counsel to the Committee.

These services include or may include the following:

              (a)     Advising the Committee with respect to its rights, duties, and powers in
                      the Chapter 11 Case;

              (b)     Assisting and advising       the Committee in its consultations and
                      negotiations with the Debtor and other parties in interest;

              (c)     Assisting the Committee in analyzing the claims of the Debtor’s creditors
                      and the Debtor’s capital structure and in negotiating with holders of claims
                      or other interests;

              (d)     Assisting the Committee in its investigation of the acts, conduct, assets,
                      liabilities, and financial condition of the Debtor and its insiders and the
                      operation of the Debtor’s business;

              (e)     Assisting the Committee in its analysis of, and negotiations with, the
                      Debtor or any third party concerning matters related to, among other
                      things, the assumption or rejection of certain leases of non-residential real
                      property and executory contracts, asset dispositions, financing of other
                      transactions, and the terms of one or more plans of reorganization for the
                      Debtor and accompanying disclosure statements and related plan
                      documents;

              (f)     Assisting and advising the Committee as to its communications to the
                      general creditor body regarding significant matters in the Chapter 11 Case;

              (g)     Representing the Committee at all hearings and other proceedings before
                      the bankruptcy court;

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               (h)     Reviewing and analyzing applications, orders, statements of operations,
                       and schedules filed with the Court and advise the Committee as to their
                       propriety and, to the extent deemed appropriate by the Committee,
                       support, join, or object thereto;

               (i)     Advising and assisting the Committee as to any legislative, regulatory, or
                       governmental activities;

               (j)     Assisting the Committee in its review and analysis of the Debtor’s various
                       agreements;

               (k)     Preparing, on behalf of the Committee, any pleadings, including, without
                       limitation, motions, memoranda, complaints, adversary complaints,
                       objections, or comments in connection with any matter related to the
                       Debtor or the Chapter 11 Case;

               (l)     Investigating and analyzing any claims belonging to the Debtor’s estate;
                       and

               (m)     Performing such other legal services that may be required or are otherwise
                       deemed to be in the interests of the Committee in accordance with the
                       Committee’s powers and duties as set forth in the Bankruptcy Code,
                       Bankruptcy Rules, or other applicable law.


                     QUALIFICATIONS, PROPOSED COMPENSATION,
                         AND PRE-PETITION COMPENSATION

       6.      The Diamond McCarthy attorneys that will make up the team representing the

Committee have long-standing experience serving as bankruptcy counsel in large bankruptcy

cases, resolving complex litigation matters involving bankruptcy debtors, corporate

reorganization, and debtor/creditor relations, and are well-qualified to represent the Committee’s

interests in the Chapter 11 Case. Diamond McCarthy’s experience and expertise in complex

business reorganization and insolvency cases will substantially benefit the Debtor’s estate

because Diamond McCarthy’s services will promote the effective and efficient administration of

the Debtor’s case and will help to maximize the value of the estates.

       7.      The Diamond McCarthy team for this engagement will be led by me and will

include my associate R. J. Shannon. The professional biographies of each of the attorneys at

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Diamond       McCarthy     are   located    on        the   Diamond   McCarthy       website    at

www.diamondmccarthy.com.

        8.      Subject to the Court’s approval, Diamond McCarthy will charge for its legal

services on an hourly basis in accordance with its ordinary and customary hourly rates in effect

on the date such services are rendered, subject to Bankruptcy Code §§ 330 and 331. Diamond

McCarthy will apply for compensation and reimbursement of expenses in accordance with the

procedures set forth in Bankruptcy Code §§ 330 and 331, the applicable Bankruptcy Rules, and

any other applicable order of the Court. Diamond McCarthy anticipates seeking interim

compensation pursuant to § 331 of the Bankruptcy Code and any relevant order of the Court.

        9.      The current standard hourly rates charged by Diamond McCarthy range from

$450.00 to $850.00 per hour for partners and counsel, $295.00 to $340.00 per hour for

associates, and $145 to $220 per hour for paralegals and support staff. The following is a list of

the Diamond McCarthy attorneys and paraprofessional who will be providing the primary legal

services for the Debtor in connection with this case, as well as their standard hourly rates

currently in effect:

              TIMEKEEPER                              POSITION               HOURLY RATE

        Charles M. Rubio              Attorney (Partner)                   $475.00

        R. J. Shannon                 Attorney (Associate)                 $325.00

        Cathy Burrows                 Paralegal                            $220.00


        10.     I believe these rates are reasonable and consistent with the rates charged by

professionals with comparable experience in the Houston legal market.

        11.     The rate of each professional working on this case will be clearly reflected in

Diamond McCarthy’s invoices and fee applications. Diamond McCarthy will maintain detailed

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records of costs and expenses incurred in connection with its legal services and these will be set

forth in detail as part of the monthly invoice and fee applications.

        12.    Neither Diamond McCarthy nor any partners of Diamond McCarthy have

divided, paid over, or shared, or agreed to divide, pay over, or share, (a) any compensation it has

or they have received or may receive for services rendered or expenses incurred in connection

with the Chapter 11 Case with another party or person (except as among the partners, counsel

and associates of Diamond McCarthy), or (b) any compensation another party or person has

received or may receive for services rendered or expenses incurred in connection with this case.

        13.    Diamond McCarthy’s policy to charge its clients in all areas of practice for

expenses incurred in connection with its representation of a client. The expenses charged to

clients include, among other things, photocopying charges, travel expenses, and computerized

research. Diamond McCarthy will maintain detailed records of actual and necessary costs and

expenses incurred in connection with the legal services provided to the Committee.


                         ELIGIBILITY AND DISINTERESTEDNESS

        14.    Diamond McCarthy performed the following actions to determine whether the

Firm or any of its attorneys has any conflict of interest or connection that would preclude

Diamond McCarthy from serving as the Committee’s bankruptcy counsel in this Chapter 11

Case:

        a.     First, Diamond McCarthy conducted a conflict check against the Debtor’s
               parties in interest listed on Schedule 1 annexed to this declaration. The
               conflict check did not reveal any conflicts.

        b.     Second, either I or my staff sent an email to all email account holders
               within Diamond McCarthy requesting a conflict check be performed on
               parties in interest listed on Schedule 1.. Such email also requested
               whether any user knew of any connection to the adverse parties.



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       2.     The results of the foregoing conflict check process confirm that neither I, nor

Diamond McCarthy, nor any of its members or associates, to the best of my knowledge, have

any disqualifying connections with the Debtor, creditors, any other party in interest, their

respective attorneys and accountants, the U.S. Trustee, or any person employed in the office of

the U.S. Trustee. Diamond McCarthy is not a creditor of the Debtor.

       3.     Diamond McCarthy practices law in the insolvency-related arena, and our

practice includes insolvency-related litigation. Consequently, Diamond McCarthy may have

“connections” with many of the attorneys and other professionals involved in the Chapter 11

Case. Diamond McCarthy may have referred matters to other professionals involved in the

Chapter 11 Case, and it may have been referred matters by such parties. Diamond McCarthy

may represent or have, from time to time, represented or been adverse to one or more of the

professionals involved in the Chapter 11 Case.

       4.     Neither I, nor Diamond McCarthy, nor any of its partners or associates, insofar as

I have been able to ascertain, represents any interest adverse to the Debtor in the matters upon

which Diamond McCarthy is to be engaged. To the best of my knowledge, Diamond McCarthy

is a “disinterested person” as that term is defined in § 101(14) of the Bankruptcy Code, in that

Diamond McCarthy, its partners, counsel, and associates:

       a.     Are not creditors, equity security holders or insiders of the Debtor;

       b.     Are not and were not, within 2 years before the date of the filing of the
              petition, a director, officer or employee of the Debtor; and

       c.     Do not have an interest materially adverse to the interest of the estate or of
              any class of creditors or equity security holders, by reason of any direct or
              indirect relationship to, connection with, or interest in, the Debtor, or for
              any other reason.

       5.     Despite Diamond McCarthy’s best efforts to identify and disclose its connections with

the adverse parties in the Chapter 11 Case, Diamond McCarthy is unable to state with absolute

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certainty that every client representation or other connection has been disclosed. In this regard, if

Diamond McCarthy discovers additional information that requires disclosure, Diamond McCarthy will

file a supplemental disclosure with the Court.

       6.      The proposed retention of Diamond McCarthy is not prohibited by or improper under

Bankruptcy Rule 5002. Diamond McCarthy and the professionals it employs are qualified to

represent the Debtor in the matters for which Diamond McCarthy is proposed to be retained.

       7.      I believe that Diamond McCarthy is eligible for employment and retention by the

Debtor pursuant to the Bankruptcy Code and the applicable Bankruptcy Rules.

       I declare under penalty of perjury under the laws of the State of Texas that the foregoing

is true and correct and this declaration is executed at Houston, Texas, on July 5, 2018.


                                             By: /s/ Charles M. Rubio
                                                   Charles M. Rubio




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                                       SCHEDULE 1

                            Parties in Interest for Conflict Search

       Diamond McCarthy used the following list to search for connections and conflicts in

connection with the Chapter 11 Case:

Debtor:

Garden Oaks Maintenance Organization Inc.

Debtor’s Attorney:

Johnie J Patterson
Walker & Patterson,P.C.

Members of the Committee:

Peter Shun-Hsien Chang
Cheryl Luck
Patricia Mehrkam
Gary C. Ingram
Susanna Schmidt
